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                  EXHIBIT 20
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                                               U.S. Department of Justice
                                               United States Attorney
                                               District of New Jersey

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                                               June 15, 2022

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              Re:   United States v. Gordon Coburn, Steven Schwartz
                    Crim. No. 19-120 (KM)

 Dear Counsel:

        As you are aware, the Court’s March 23, 2022 Opinion (DE 319) instructed
 the Government to “review its communications with Cognizant for the period
 September 2016 to February 2019” and “produce any and all communications that
 reflect any direction of Cognizant’s investigative efforts[.]” We have conducted this
 review and concluded that we do not have communications reflecting “direction” of
 Cognizant’s investigation. Instead, during the course of its own independent
 investigation, the Government made requests for information and documents to
 Cognizant through its outside counsel and had meetings and communications with
 counsel during which the Government received information in response to those
 requests, as well as through document productions. Nonetheless, we are disclosing
 the below communications as a courtesy and in an abundance of caution, even
 though we do not believe they reflect “direction” of, or control over, Cognizant’s
 investigation.

        During a meeting on October 6, 2016, between the Government and DLA
 Piper (“DLA”), a DLA attorney advised the Government that counsel planned to do
 an additional (third) interview of Steven Schwartz—which, as you know, never
 occurred—and had requested medical records from Schwartz related to his
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 purported alibi concerning the basal cell procedure that he had performed in April
 2014. The Government asked DLA if “we” had exhausted everything around
 Schwartz’s claim of not remembering the events he was asked about during his
 initial interview, and whether Schwartz was in the office the week of those events.
 DLA explained that it was not uncommon for Cognizant employees to work
 remotely and from home.

        During a call on February 14, 2017, the Government advised DLA that it had
 been in touch with counsel for Sridhar Thiruvengadam about the Government
 interviewing Thiruvengadam. DLA advised that Thiruvengadam’s counsel had
 requested documents. The Government said that it wanted Thiruvengadam’s
 counsel to have access to documents that Thiruvengadam would have had access to
 during the relevant time period. The Government also requested a copy of any
 documents provided to Thiruvengadam’s counsel as well counsel for Srimanikandan
 Ramamoorthy. DLA advised that they had made available to Thiruvendgadam’s
 and Ramamoorthy’s counsel those documents that each respective witness would
 have seen in his business function. The Government asked why DLA had only
 made documents available for counsel’s review instead of producing them to
 counsel, and DLA responded that counsel for Thiruvengadam had requested access
 to Thiruvengadam’s emails and computer, and DLA told counsel that DLA would
 make the relevant documents available to him. The Government advised that it
 would be helpful if DLA kept track of documents shown to the witness for the first
 time. DLA noted that it would make a copy of materials provided to
 Thiruvengadam’s counsel. The Government also noted that it wanted to interview
 Thiruvengadam first. During the call, DLA stated that Thiruvengadam’s testimony
 has evolved and his memory has gotten better. In a subsequent meeting on March
 10, 2017, the Government asked DLA if Thiruvengadam’s counsel had received the
 documents to which Thiruvengadam would have had access. DLA responded that
 the documents were going out to counsel that day, and that DLA would produce to
 the Government a binder of documents that Thiruvengadam was on.

     During a meeting on February 24, 2017, DLA provided factual information from
 DLA’s prior interview on August 23, 2016 of Thiruvengadam. The Government
 previously disclosed the factual information provided by DLA relating to this
 interview. As previously noted, DLA showed Thiruvengadam the line item that
 showed Statutory Approvals (November 2014) and Thiruvengadam said he had no
 idea about it and that he had no knowledge that the $3.7 million had been rejected
 and replaced with other line items. The Government thereafter asked DLA
 whether, for any future witness interviews DLA conducted, DLA could first speak
 with the Government before showing a witness a document that he/she might not
 have received. DLA said yes.

       During a May 3, 2017 call, DLA provided an update on interactions DLA had
 with counsel to two company employees—Raj Ghosh and Thiruvengadam.


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 According to DLA, counsel for these individuals had received relevant documents
 from DLA and had asked DLA for a debrief regarding statements that their
 respective clients had previously made to DLA prior to retaining counsel. DLA
 noted that it considered this request reasonable. DOJ advised DLA that it (DOJ)
 would get back to them on whether to proceed.

         During a March 21, 2018 call, the Government noted to DLA that certain
 documents DLA produced relating to the April 2014 video calls involving Coburn,
 Schwartz, Thiruvengadam, and Ramamoorthy (the Tandberg records) appeared to
 list another Cognizant employee. Previously, on March 19, 2018, DLA explained
 that Thiruvengadam logged into that video call from a machine or account later
 assigned to another employee and that employee was incorrectly referenced in the
 Tandberg records. During the March 21 call, the Government asked DLA whether
 that employee had actually been on the video call and whether DLA had
 interviewed the employee to confirm whether or not he was on the call. DLA said it
 had not, but instead had asked the other call participants if the additional employee
 was on the call and they said he was not. DLA stated that they would see if the
 employee was still employed with Cognizant and, if he was, DLA would speak with
 him. During a follow-up call on March 22, 2018, the Government asked DLA to
 track down the employee and get an answer from him. DLA agreed to follow up.
 During a subsequent call on April 16, 2018, the Government asked DLA whether
 DLA had a chance to confirm with the employee whether he was on the April 2014
 video call and DLA responded that they would get it done that week. The
 Government then requested a summary from the interview.1 Our recent review of
 our communications revealed no information about whether this interview was, in
 fact, conducted or whether DLA provided a summary of it.




 1
  It appears that the employee referenced is Rajeev Menon. See CTS-0101448-49 (noting
 reference to Tandberg account “Rajeev Menon’s Office,” which was a Tandberg account
 previously assigned to Thiruvengadam at the time of the April 22, 2014 call); FBI 302 of
 Interview of Ramesh Lakshminarayanan (regarding Tandberg log relating to the April 22,
 2014 video call).



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        During a presentation to the Government on May 10, 2018, Cognizant’s
 outside counsel from Latham & Watkins LLP addressed the Principles of Federal
 Prosecution of Business Organizations (also known as the “Filip Factors”) and
 requested that the Government decline prosecution of the company. In the course of
 describing the company’s proactive cooperation, company counsel highlighted that
 DLA had persisted in securing additional interviews with the president (Coburn)
 and general counsel (Schwartz) of Cognizant, which Latham described as a
 distinguishing factor in the Company’s cooperation.


 LORINDA LARYEA                              PHILIP R. SELLINGER
 Acting Chief                                United States Attorney

 /s/Gerald M. Moody, JR.                     /s/ Nicholas P. Grippo
 ________________________________            __________________________
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